                            Case 1:19-cr-00033-JPW Document 208 Filed 11/08/23 Page 1 of 1


AO 4-n (Re v. I I ii I) Arrest Warrant



                                             UNITED STATES DISTRICT COURT
                                                                      for the
                                                          Middle District of Pennsylvania

                     United States of Ame rica
                                    V.
                 RONSHEEK J . BASKERVI LLE                                      CaseNo.     1:19-CR-00033




                                Defenda111


                                                          ARREST WARRANT
To:        Any authorized law enforcement officer

           YOU ARE COM MA DED to arrest and bring before a United States magistrate judge without unnece sary de lay
(name ofperson lo be arresled)
                             RONSHEEK J . BASKERVILLE
who is accused of an offense or vio lation based on the following document fi led with the c.ourt :

0     Ind ictment            O Super eding Indictment          O lnfor-mation      O Super eding lnfonnation                  Complaint
0     Probation Violation Petition            ~ Supervised Release Violation Petition        O Violation Notice               Order of the Court

This offense is briefly described as follows :
    Violations of Supervised Re lease




Date:            10/30/2023                               FILED
                                                        HARRISBURG, PA                        Issuing officer ·s signa111re
                                V                                                                V


City and state:"'         Harrisb urg, Pe nnsylva nia                            Jenn ifer P. Wilson, United States District Jud e
                                                                                                Pril1led name and title
                                               PER


           This wan-ant was received on fda1eJ /'D ) to fz~l-,             , and the person was arrested on (da1eJ
                                                       1
at (cil)' ands/ale) ~ j . , , _ L _,.J_  ~ -----




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